       Case 1:10-cr-00120-DLI Document 206-2 Filed 03/25/11 Page 1 of 3 PageID #: 918



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                                                             March 25, 2011


       VIA ECF AND HAND
       The Honorable Dora L. Irizarry
       United States District Court
       Eastern District of New York
       225 Cadman Plaza East
       Brooklyn, NY 11201

                          RE: UNITED STATES v. HENRI AL HALABI
                          CRIMINAL DOCKET NO. 10-120 (S-1) (DLI)

       Dear Judge Irizarry:

             As your Honor is aware, this firm, together with Kenneth Kaplan of Kaplan &
       Katzberg, represent the defendant, HENRI AL HALABI, who is now scheduled to
       be sentenced before your Honor on April 12, 2011.

               Together with this letter, we are enclosing a formal Sentencing Memorandum,
       which counsel believe wi" greatly assist this Court in arriving at a fair and just
       sentence in this case. We respectfully submit that, in our judgment, this particular
       defendant brings certain very unique, personal and rather unusual challenges to the
       difficult process of sentencing, which counsel truly believe this Court, in particular,
       agonizes over.

              In this personal letter, without repeating a" of the arguments raised in our
       extensive Sentencing Memorandum and in the many moving letters to the Court we
       have submitted on behalf of Mr. AI Halabi, counsel wish to respectfully stress certain
       specific observations about Mr. AI Halabi that may we" provide a deeply personal
 Case 1:10-cr-00120-DLI Document 206-2 Filed 03/25/11 Page 2 of 3 PageID #: 919

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 and honest basis for the imposition of a sentence well below the sentence provided
 for in the advisory Guideline range set out in the Plea Agreement.

       First, there is the very significant realization, as confirmed in the materials we
 have submitted, that the defendant in this case is a young man of very limited
 personal intelligence. We do not suggest that he was, or is now, legally
 incompetent; nor does counsel suggest that Mr. AI Halabi lacked sufficient
 comprehension to fully understand the nature of his conduct or that it was wrong.
 Indeed, Mr. AI Halabi confessed to his criminal conduct and he accepts full
 responsibility for the crime he knowingly committed. Nevertheless, it is critical to
 respectfully note that, when formally tested by one of the most respected and
 recognized experts in the field, Mr. AI Halabi scored an IQ of 70, well below the
 national average.

        Equally important, as provided in our submission to the Court, is the fact that
 Mr. AI Halabi's learning disability and very poor intelligence is not of recent vintage,
 but rather well documented since his childhood in Syria where, as a Jewish student
 in a virulently anti-Semitic regime, he and his family were forced to endure
 substandard educational opportunities under an oppressive government that further
 diminished his ability to' develop skills and substantially hampered his education
 opportunities by denying him the Special Education guidance that would have
 undoubtedly helped him advance during his formative years.

        Furthermore, as the materials we have provided to the Court also confirm, a
 person of limited intelligence like Mr. AI Halabi was very susceptible to manipulation
 by others, a very important factor in this case which we discuss in detail in our
 Memorandum and which we briefly note here as well. As confirmed at the plea
 allocution, there was a "major player," other than Mr. AI Halabi, in the counterfeit
 clothing business who was intimately involved in the charged conduct.

        As your Honor will note from our formal submission, our principal objective is
 to hopefully convince your Honor by compelling argument, legal precedent, and
 honest logic that a sentence well below the advisory Guideline range is appropriate
 in this case, and that a very lenient sentence would be "sufficient but not greater
 than necessary" as to this interesting young defendant who comes before this Court
 with an unblemished record, is a very good husband, citizen and, in particular, a
 wonderful father devoted to his son who has similar learning disabilities as him, and
 also a son devoted to the care of his elderly, frail parents.

       To be fully candid, counsel have too much respect for this Court's
 independence, wisdom and personal integrity to request a specific sentence,

                                            2
 Case 1:10-cr-00120-DLI Document 206-2 Filed 03/25/11 Page 3 of 3 PageID #: 920

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 understanding how many different issues a Court must today factor into the equation
 when arriving at a just sentence under the very wide discretion now provided to a
 District Court that is no longer confined by restrictive, binding Guidelines, but can
 now impose a "reasonable" sentence after applying the critical Section 3553 factors.
 Accordingly, counsel does not ask for a specific sentencing range, nor do we
 specifically ask for a sentence that does not include any period of incarceration.
 What we ask, with great respect, is that your Honor craft a compassionate sentence
 in the case of this fundamentally decent young man of limited ability and intelligence,
 who committed a non-violent crime, has fully accepted responsibility for his conduct,
 paid a significant financial penalty, has led an exemplary life, and who, everyone
 will agree, poses absolutely no risk to the community, nor does he pose any risk to
 commit any further criminal activity.

       Counsel would like to personally thank your Honor for the extraordinary
 courtesy that this Court has always extended to counsel in all matters. Should your
 Honor have any questions prior to sentence, we stand ready to respond or to provide
 any additional information your Honor may feel relevant.



                                                      Respectfully,




                                                      Benjamin Brafman




 cc:   Walter M. Norkin, Assistant United States Attorney [via Hand]

       Henri AI Halabi [via Hand]




                                            3
